






Opinion issued April 18, 2002







         					  


	


	


In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00174-CR

____________


IVAN RODRIGUEZ, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from County Criminal Court at Law No. 13

Harris County, Texas

Trial Court Cause No. 1086270






O P I N I O N

	Appellant was charged with possession of marihuana in a useable quantity
of under two ounces, and entered into a plea bargain agreement with the State in
which the State would recommend that punishment be assessed at eight days in jail
with credit for three days.  Appellant signed a written waiver of his right to appeal if
the trial court accepted the plea bargain agreement. 

	Appellant pleaded guilty, and the trial court followed the plea bargain
agreement in assessing punishment.  Despite having waived the right to appeal,
appellant filed a notice of appeal.  We hold the appeal must be dismissed.  See Buck
v. State, 45 S.W.3d 275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.); see also
Blanco v. State, 18 S.W.3d 218, 219-20 (Tex. Crim. App. 2000); Bushnell v. State,
975 S.W.2d 641, 642-44 (Tex. App.--Houston [14th Dist.] 1998, pet. ref'd); Littleton
v. State, 33 S.W.3d 41, 43 (Tex. App.--Texarkana 2000, pet. ref'd).

	Accordingly, we order the appeal dismissed.

	All pending motions are denied as moot.

PER CURIAM

Panel consists of Justices Cohen, Nuchia, and Smith. (1)


Do not publish.  Tex. R. App. P. 47.
1. The Honorable Jackson B. Smith, Jr., retired Justice, Court of Appeals, First
District of Texas at Houston, participating by assignment.


